      Appellate Case: 23-9503          Document: 117    Date Filed: 04/28/2025     Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                           Tenth Circuit

                                FOR THE TENTH CIRCUIT                               April 28, 2025
                            _________________________________
                                                                                 Christopher M. Wolpert
                                                                                     Clerk of Court
 CENTER FOR BIOLOGICAL
 DIVERSITY,

         Petitioner,

 v.                                                                No. 23-9503
                                                       (EPA No. EPA-R08-OAR-2020-0103.)
 UNITED STATES ENVIRONMENTAL                             (Environmental Protection Agency)
 PROTECTION AGENCY; and MICHAEL
 S. REGAN, Administrator, United States
 Environmental Protection Agency,

         Respondents,

 and

 STATE OF COLORADO,

         Intervenor - Respondent.

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 AMERICAN PETROLEUM INSTITUTE,

         Amicus Curiae.
                            _________________________________

                                       JUDGMENT
                            _________________________________

Before BACHARACH, BALDOCK, and CARSON, Circuit Judges.
                 _________________________________

        This petition for review originated from the Environmental Protection Agency and

was argued by counsel.
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       It is the judgment of this Court that the petition is denied in part and granted in

part. The case is remanded to the EPA for reconsideration in accordance with the opinion

of this Court.


                                               Entered for the Court



                                               CHRISTOPHER M. WOLPERT, Clerk




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